Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 rage

UNITED STATES DISTRICT COURT a i

EASTERN DISTRICT OF LOUISIANA
NEW ORLEANS DIVISION i
IN RE: FEMA TRAILER MDL NO. 1873 i
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION =
\

SECTION: N(4)

THIS RELATES TO: MAG: ROBY

Plaintiff:
Bradford C. Brooks

)
)
)
)
) JUDGE: ENGELHARDT
)
)
)
)
)

PLAINTIFF FACT SHEET

I. INSTRUCTIONS

IT IS VERY IMPORTANT FOR YOU TO COMPLETE THIS FORM IN ITS ENTIRETY
IN ORDER TO PROTECT YOUR CLAIM. THIS FORM MUST BE COMPLETED AND
RECEIVED BY JUNE 18, 2008 OR YOU WILL NOT BE ABLE TO PARTICIPATE IN
THIS LITIGATION. ONCE COMPLETED, PLEASE IMMEDIATELY RETURN THIS
FORM TO YOUR ATTORNEY.

Please provide the following information for each person claiming a formaldehyde related
injury as a result of living in a travel trailer or mobile home provided by FEMA after Hurricanes
Katrina and Rita in August and September, 2005. A separate Plaintiff Fact Sheet must be
completed for each individual claiming exposure to formaldehyde. For example, a parent
must complete a separate form for each minor child and a personal representative must
complete a separate form for each deceased person. Whether you are completing this fact
sheet for yourself or for someone else, please assume that “You” means the person who resided
in or lived in the housing units.

If additional space is needed for any response, please attach additional sheets. If the
person completing this Fact Sheet does not know or does not recall the information requested in
any question, that response should be entered in the appropriate location.

EXHIBIT

Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 2 of 26

Il.

III.

PERSONAL INFORMATION
A. Name (person completing form):Bradford C. Brooks
B. Maiden or other names used or by which you have been known:
Cc. Current Street Address: 256 Delauney St Biolxi, MS 39530
D. Home Telephone No.: (228) 832-7025
Cell Phone No.: N/A
Work Telephone No: N/A
Other Telephone Nos.:(228) 238-2457
E. Email address:
CASE INFORMATION
A. If you are completing this questionnaire in a representative capacity (for

example, on behalf of the estate of a deceased person or on behalf of a minor),
please complete the following information on such person:

1. State which individual or estate you are representing:
N/A

2. Maiden Or Other Names Used or By Which Such Person Has Been
Known:

3 Address (or last known address if deceased):

4. Home Telephone No. -N/A

Cell Phone No.: N/A
Work Telephone No: N/A
Other Telephone Nos.N/A
5. E-mail address:
6. If you were appointed as a representative by a court, state the:
Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 3 of 26

Court:. Date of Appointment:N/A

What is your relationship to the deceased or represented person or person
claimed to be injured? N/A

If you represent a decedent’s estate, state the date of death of the decedent
and the place where the decedent died:

N/A

DateN/A

B. Please state the name and address of the attorney representing you:

Anthony Buzbee_/ The Buzbee Law Firm

Attorney’s Name/Law Firm
Houston, TX 77002

City, State and Zip Code

C. Please state the following: (If you are a representative, please state this
information for each such person being represented):

1,

[x] irritation to eyes
burning of eyes
[_] tearing of eyes

Are you claiming that you have developed, or may have developed, a
disease or illness as a result of being exposed to formaldehyde while
residing in a FEMA-provided trailer or mobile home?

Yes Nol

What is your understanding of the illness or disease you claim you have
developed, or may in the future develop, from living in a FEMA trailer or
mobile home?Feeling Weak

During the time that you lived in your FEMA trailer, did you experience or
report to a physician any of the following symptoms? If yes, place a check
mark (v’) by the symptom that you experienced.

[Xj tingling or swelling of lips or face area
[X] headaches
nausea

(X] irritation to nasal membranes (inside ofnose) [Xx] vomiting
burning of nasal membranes (inside of nose) bloody vomiting
[J bleeding of nasal membranes (inside of nose) [Xx] abdominal pain

[X] irritation or itching of skin — DX] diarrhea

burning of skin difficulty in breathing
rashes on skin wheezing

PX] drying or scaling of skin shortness of breath
Dx} scaling or itching of eyelids X] persistent cough
irritation or swelling of eyelids or eye area tightness of the chest
Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 4 of 26

bronchitis

—X] throat irritation

[_] hoarseness

laryngitis

pneumonia

[_] upper respiratory tract infections

[_] pulmonary edema

{ ] asthma attacks for the first time in your life

{_] asthma attacks that are recurrence of
childhood asthma .

allergies for the first time in your life

[x] worsening of allergies that you had previous

to living in FEMA trailer

(_] allergic contact dermatitis

(X]dizziness

DXjunconsciousness

[Xjconvulsions or seizures

[_]blood in urine

[XJabnormal liver enzymes

[X]nephritis (inflammation of kidneys)

[Xllow blood pressure

{Jhypothermia (low body temperature)
miscarriage or stillbirth

[<Jabnormal laboratory tests on blood

[xJabnormal laboratory tests on urine

Please list any other symptoms you have suffered as a result of residing in a
FEMA trailer (not listed above) and any conditions for which you have

been diagnosed by a physician.

4. Since you moved into the FEMA trailer and up to the present date, have
you been diagnosed with cancer? No

If yes, which kind of cancer?

5. When do you claim this injury or disease first occurred? 2006

6. Did you ever suffer this type of illness or disease prior to living in the

FEMA trailer?

Yes [_] No kx]

If “Yes,” when and who diagnosed the condition at that time?

N/A

7. Do you claim that your use of a FEMA trailer or mobile home worsened a
condition that you already had or had in the past?

Yes [_] No &X]

If “Yes,” set forth the illness, disease or condition; whether or not you had
already recovered from that illness, disease or condition before you began
Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 5 of 26

residing in a FEMA trailer or mobile home and the date of your recovery, if
any.

8. Are you claiming mental and/or emotional damages as a result of
residing in a FEMA trailer or mobile home?

Yes ix] No [_]

If “Yes,” for each provider (including but not limited to primary care
physician, psychiatrist, psychologist, counselor, pastor or religious
counselor) from whom you have sought treatment for any psychological,
psychiatric or emotional problems during the last seven (7) years, state:

Name and address of each person who treated or counseled you:
Dr. Robert. Bonhomme Biloxi, MS 39530

To your understanding, describe the condition for which treated:

State when you were treated for this psychological, psychiatric or
emotional problem

List the medications prescribed or recommended by the physician or
counselor

9. Are you making a claim for medical expenses as a result of the injury,
illness or disease identified in C.2. above?

Yes X] No []

If “Yes,” state the amount of your claim: Unknown at this time

Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 6 of 26

IV.

BACKGROUND INFORMATION

A. Identify each address at which you have resided during the last five (5) years, and
list when you started and stopped living at each one:

Address Dates of Residence
256 Delauney St Biolxi, MS 39530 Jan! 2008 To Till date
6629 Columbus Cir Biloxi, MS 39531 _ | 2005 To Dec’ 2007
B. here icense Number and State Issuing License:

LA
C. ‘Date and Place of Birth: a Place: LA
D. Sex: Male BX] Female [ ]

EF, Identify the highest level of education (high school, college, university or other
- educational institution) you have attended (even if not completed), the dates of
attendance, courses of study pursued, and diplomas or degrees awarded:

Institution Dates Attended Course of Study Diplomas or Degrees
Communication | 1980 - 1933 12th Grade Diploma

military High

School

F. Employment Information

1. Current employer (if not currently employed, state your last employer):
Name Address Dates of Occupation/Job Duties
Employment
NA
2. List the following for each employer you have had in the last ten (10)
years: .
Name Address Dates of Occupation/Job Duties
Employment
NA

Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 7 of 26

3. Are you making a wage loss claim, or claim of lost earning capacity as a
result of your exposure to formaldehyde while residing in a FEMA trailer
or mobile home?

Yes No []

If “Yes,” state the following:

a. If you are making a claim for lost earnings and/or lost earning
capacity, state your income from employment for each of the last
five (5) years:

Year Income
2005 $50000
2006 $67000
2007 $67000
. 2008 $60000
2009 $70000

b. Total amount of time which you have lost from work as a result of
any and all condition(s) related to residing in a FEMA trailer or
mobile home, and the amount of income that you lost:

Unknown at this time
G. Previous Claims Information
1. Have you ever filed a lawsuit or made a claim, other than in the present

suit, relating to any sickness or disease, excluding auto accidents?
Yes [_] No] Don’t recall [J

If “Yes,” state to the best of your knowledge the court in which such _
action was filed, case name and/or names of adverse parties, and nature of
the sickness or disease.

Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 8 of 26

IV. FAMILY INFORMATION

A. To the best of your knowledge has any child, parent, sibling, or grandparent of
yours suffered from any type of disease [such as asthma, shortness of breath,
headaches, lung disease, liver disease, skin disease, neurological disease,
allergies, or cancer].

Yes [xX] No L_] Don’t Know (_]

If “Yes,” provide the information below.
Name Relationship Current Age (or | Medical Cause of Death

Age at Death) Condition (if applicable)
Pranan Self Sister 54 Very bad Brain And lung
Cancer
happyle myers mother §1 very bad Lung Cancer
B. Are you are claiming the wrongful death of a family member related io

formaldehyde?
Yes (] No

if “Yes,” state the name of the deceased and fill out a separate form for the
deceased.
Name: N/A

VY. FEMA TRAILER OR MOBILE HOME UNIT

*eRHKEEREE Multi-Trailers See Appendix 1

Please respond to Sections V._A-E below, including all subparts, with respect to each
FEMA trailer or mobile home that you have resided in. Attach additional sheets if
necessary. |

A.

Please provide the following information regarding the FEMA trailer or mobile
home:

1, Manufacturer of trailer or mobile home: Fleetwood

2. VIN: N/A

3. FEMA Identification No.. N/A

N/A

Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 9 of 26

10.

11.
12.
13.

14.

15.
16.
17.

18.

Bar Code Number on FEMA housing unit:

Was the temporary housing unit provided to you by FEMA a travel trailer
ora mobile home? Travel Trailer Mobile Home KX]

Move-in Date; 3/1/2006

Move-out Date: June’ 2008

Please state the mailing address and physical location for the FEMA trailer
or mobile home unit.
1912 Estalote Ave. Hammond LA 70402 N/A

Was the FEMA trailer or mobile home located in a trailer park or on
private property? Trailer Park

State the reason you stopped living in the FEMA trailer or mobile home:
Due to formaldehyde

Please state the approximate square footage of the FEMA housing
unit: 240

Please state the approximate length and width of the FEMA housing
unit: 30 x 8

What is/was the average number of hours spent in the FEMA trailer or
mobile home each day? 22

Is/was the FEMA housing unit “jacked-up” on biocks (wheels off of the
Yes [x] No L]

Is/was the FEMA housing unit hooked up to a sewer line?
Yes No [|

Is/was the FEMA housing unit hooked up to an electrical line?

Yes [X] No [_]

Is/was the FEMA housing unit hooked up to natural gas line?
Yes _] No

 Is/was propane gas used in the FEMA housing unit?

9
Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 10 of 26

‘Yes X No [|

19. | How many days per week did you work outside of the home during the
time you lived in the FEMA trailer or mobile home? 5

20. Did you ever temporarily live in another location during the time you
resided in the FEMA trailer or mobile home:
Yes |] No

If “Yes,” please state the following:

Where did you temporarily live? N/A

For what period of time did you temporarily live in another location?
N/A

B. Have any air quality tests ever been performed on your FEMA trailer or mobile
home?

Yes {_] No [Xx]

If “Yes,” please state when the test was performed and who prepared this
testing ‘N/A

C. Was your FEMA trailer or mobile home ever fumigated for insects or any other
reason?

Yes {] No &

if “Yes,” please state the following:

Date and reason for fumigation: Date: N/A Reason: N/A

D. Were any repairs, service, or maintenance performed on your FEMA trailer or
mobile home?

Yes ] No XX]

If “Yes,” please state the date and reason for repair, service or maintenance:
Date: N/A Reason: N/A

E. Please state in the chart provided below the name and present address and
telephone number of every person who resided in your FEMA trailer or mobile
home, the period of time such person resided in the FEMA trailer or mobile home
(however brief), and whether such person is making a claim for personal injury as
a result of residing in the FEMA trailer or mobile home.

10
Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 11 of 26

Name Current | Current Address | Dates lived in Making | If “Yes,” what is the
Age and Telephone the FEMA personal | nature of the
number trailer or injury personal injury?
mobile home | claim?
NA From Yes [ j
, No []
To Don’t
Know [_]
<<
From Yes [|
No []
To Don’t
, Know L_]
From Yes L]
No []
To Don’t
Know [_]
From Yes [_]
No []
To Don’t
Know L_]
From Yes LJ
No []
To Don’t
Know [_]
From Yes [|
No [J
To Dén’t
Know [_]

VI. | MEDICAL BACKGROUND

A
B.

Height: 519"
Current Weight: 203. Ib
Weight prior to living ina FEMA trailer or mobile home: 215 Ib

Personal Smoking/Tobacco Use History: Check only the answer and that
applies to you and fill in the blanks applicable to your history of smoking
and/or tobacco use. -

[_] Never smoked
tobacco/snuff.

cigarettes/cigars/pipe tobacco or used chewing

X] Past smoker of cigarettes/cigars/pipe tobacco or used chewing
tobacco/snuff.

11

‘Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 12 of 26

1. Date on which smoking/tobacco use ended: N/A
2. Amount smoked or used on average:
5 per day for20___ years.

L] Current smoker of cigarettes/cigars/pipe tobacco or user of chewing
tobacco/snuff:

1. Amount currently smoked or used on average:
N/A perday for N/A _ years.

D. Other Smoking/Tobacco Use History:

If someone who resides or resided with you in your FEMA housing unit is
or was a smoker of cigarettes/cigars/pipe tobacco or user of chewing
tobacco/snuff, please state the following concerning their smoking history:

l. Amount smoked or used on average, if you know:
N/A perday for9 _years.
2. Relationship to you: N/A

3. Please state whether the smoking occurred inside, outside or
both, N/A

E. Were you pregnant during the time in which you resided in a FEMA trailer or
mobile home?
Yes [_] No

Tf “Yes,” what was the date of birth: N/A

Did your pregnancy terminate in a miscarriage or a stillborn child?

Yes |_| No XX}

F. Have you ever suffered from any of the following illnesses, diseases or abnormal
physical conditions?

1, Lung or other respiratory disease

Yes | No
If “Yes,” please indicate the following:

Name and description of each illness, disease, or abnormal condition:
N/A

The date of illness:
N/A

12
Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 13 of 26 .

Infectious disease (such as, tuberculosis, pneumonia, hepatitis)

Yes[_] No
If “Yes,” please indicate the following.

Name and description of each illness, disease, or abnormal condition:
N/A

The date of illness:
N/A

Long-term stomach or bowel disease
Yes [_] No Xx]
If “Yes,” please indicate the following.

Name and description of each illness, disease, or abnormal condition:
N/A

The date of illness:
N/A

Skin disease
Yes [_] No

If “Yes,” please indicate the following.

Name and description of each illness, disease, or abnormal condition:
N/A

The date of illness:

N/A

G. Please indicate to the best of your knowledge whether you have ever received any
of the following treatments or diagnostic procedures:

1. To your knowledge, have you ever had any of the following tests —
performed: chest X-ray, CT scan, MRI.
Yes No [J Don’t Recall {_]
Uf “Yes,” answer the following:
Diagnostic When Treating Hospital Reason
Test Physician .
Chest X-ray 2008 Dr, Robert V A Medical center | headaches and neck

pain

13

Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 14 of 26

VIL. MEDICAL DIAGNOSIS

A.

Please identify the doctor or health care provider(s) who treated you for each
disease, illness or injury that you claim you (or the person you represent) suffered
as a result of living m a FEMA trailer or mobile home and the date of the
diagnosis. .

Doctor’s Name: N/A
Specialty, if any:

‘Address: __,

Phone:
Treatment received:
Dates of treatment:

Doctoer’s Name: Dr.Robert Bonhomme
Specialty, if any:
Address: 400 Veterans Ave _, Biloxi 39531
Phone: MS

Treatment received: Difficulty in breathing
Dates of treatment: 2008

Doctor’s Name:
Specialty, if any:
Address:

Phone:
Treatment received:
Dates of treatment:

If you are alleging psychological symptoms or emotional problems as a result of
living in a FEMA trailer or mobile home, please identify any physician that you

have received psychological care and provide a medical records authorization.
N/A

Has any health care professional told you that your alleged illness, disease, or
injury is related to living in a FEMA trailer or mobile home?

Yes L_| No XJ

If “Yes,” please provide the name and address of the health care professional.
N/A

14
Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 15 of 26

VU DOCUMENTS

IX.

Please indicate if any of the following documents and things are currently in your
possession, custody, or control, or in the possession, custody, or control of your lawyers by
checking “Yes” or “No.” Where you have indicated “Yes,” please attach a copy of the
documents and things to your responses to this Plaintiff Fact Sheet.

A.

G.

Records of physicians, hospitals, pharmacies, and other healthcare providers
identified in response to this Plaintiff Fact Sheet.

Yes [| No &]

Standard Form 95 submitted to any federal agency regarding any claim related to
a FEMA trailer or mobile home, including any and all attachments.

Yes[ | No XX]

Any test results from any testing done on your FEMA trailer or mobile home.

Yes [_] No

All bills from any physician, hospital, pharmacy, or other healthcare provider, if
you incurred related medical expenses.

Yes {| No XX]

Any questionnaires that you have filled out to assist any individual or entity with
any testing done on your FEMA trailer or mobile home.

Yes [| No {X]

Decedent's death certificate, if applicable.

Yes] No [xj

Report of autopsy of decedent, if applicable.
Yes L_] No XJ

LIST OF MEDICAL PROVIDERS AND OTHER SOURCES OF
INFORMATION

For each medical provider and pharmacy identified in Sections A through F below, please
fill out and sign and date an attached authorization. You must also sign and date five (5) blank
medical authorizations and attach them to this Form.

You must also sign and date authorizations permitting social security disability and
workers’ compensation records to be requested, to the extent applicable.

15
Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 16 of 26

A Identify your current family and/or primary care physician:

Name Address

Dr.Robert Bonhomme 400 Veterans Ave Biloxi, MS 39531

B. Identity your primary care physicians for the last seven (7) years.

Name Address Approximate Dates

Dr.Robert Bonhomme 400 Veterans Ave Biloxi, MS 39531 2008

+ C. Each hospital, clinic, or healthcare facility where you have received inpatient
treatment or been admitted as a patient during the last seven (7) years.

Name Address Admission Dates Reason for
Admission

NA

D. Each hospital, clinic, or healthcare facility where you have received outpatient
treatment (including treatment in an emergency room) during the last seven (7)
years.

Name Address Admission Dates Reason for -
Admission

Biloxi VA Medical Center 400 Veterans Ave Biloxi, MS 39531 2008 wheezing, Headaches

E. Each physician or healthcare provider from whom you have received treatment
during the last seven (7) years.
Name Address Dates of Treatment
Dr.Robert Bonhomme wat Bes-MS | Headaches, Breathing Problems

16
Case 2:07-md-01873-KDE-MBN -Document 23894-4 Filed 12/14/11 Page 17 of 26

F, Each pharmacy that has dispensed medication to during the last seven (7) years.
a Name Address
almart 2381 Pass Rd_ Biloxi, MS 39531

17

Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 18 of 26

CERTIFICATION

I declare under penalty of perjury subject to 28 U.S.C. §1746 that all of the information
provided in this Plaintiff Fact Sheet is true and correct to the best of my knowledge, and that I
have supplied all the documents requested in Part VIII of this Plaintiff Fact Sheet, to the extent
that such documents are in my possession, custody, or control, or in the possession, custody, or
control of my lawyers, and that I have signed the authorizations attached to this declaration.

Bradford C. Brooks
Signature of Plaintiff Print Your Name Date

18
Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 19 of 26

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER FORMALDEHYDE | MDL No. 1873
PRODUCT LIABILITY LITIGATION

' AUTHORIZATION FOR RELEASE OF
MEDICAL RECORDS PURSUANT TO 45
C.F.R. § 164.508 (HIPAA)

Name: Bradford C. Brooks

Date of Birth: i

Last Four Numbers of SSN: i

I hereby authorize (the
“Provider”) to release all existing records regarding the above-named person’s medical care,
treatment, physical condition, and/or medical expenses to the law firm of Duplass, Zwain, .
Bourgeois, Morton, Pfister & Weinstock, 3838 N. Causeway Boulevard, Suite 2900,
Metairie, LA 70002, and/or to the law firm of
and/or their designated agents, These records shall be used or disclosed solely
in connection with the currently pending FEMA Formaldehyde product liability litigation
involving the person named above. This authorization shall cease to be effective as of the date
on which the above-named person’s FEMA Formaldehyde product liability litigation concludes.

This authorization also may include x-Tay reports, CT scan reports, MRI scans, EEGs,
EKGs, sonograms, arterio grams, discharge summaries, photographs, surgery consent forms,
admission and discharge records, operation records, doctor and nurses notes (excluding
psychotherapy notes maintained separately from the individual's medical record that document or
analyze the contents of conversation during a private counseling session or a group, joint, or
family counseling session by referring to something other than medication prescription and
monitoring, counseling session start and stop times, the modalities and frequencies of treatment
furnished, results of clinical tests, and any summary of the following items: diagnosis, functional
Status, the treatment plan, symptoms, prognosis and progress), prescriptions, medical bills,
invoices, histories, diagnoses, natratives, and any correspondence/memoranda and billing
information. It also includes, to the extent such records currently exist and are in your
possession, insurance records, including Medicare/Medicaid and other public assistance claims,
applications, statements, eligibility material, claims or claim disputes, resolutions and payments,
medical records provided as evidence of services provided, and any other documents or things
pertaining to services furnished under Title XVII of the Social Security Act or other forms of
public assistance (federal, state, local, etc.). This listing is not meant to be exclusive.

This will further authorize you to provide updated medical records, x-rays, reports or
copies thereof to the above attorney until the conclusion of the litigation. I understand that I
have the right to revoke in writing my consent to this disclosure at any time, except to the extent
that the above-named facility or provider already has taken action in reliance upon this
Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 20 of 26

authorization, or if this authorization was obtained as a condition of obtaining insurance
coverage. I further understand that the above-named facility or provider cannot condition the
provision of treatment, payment, enrollment in a health plan or eligibility for benefits on my
provision of this authorization. I further understand that information disclosed pursuant to this
authorization may be subject to redisclosure by the recipient to its clients, agents, employees,
consultants, experts, the court, and others deemed necessary by the recipient to assist in this
litigation and may no longer be protected by HIPAA.

Any copy of this document shall have the same authority as the original, and may be
substituted in its place.

Dated this _ day of , 2009.

[PLAINTIFF OR REPRESENTATIVE]

Ifa representative, please describe your relationship to the plaintiff and your authority to act on
his/her behalf:

Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 21 of 26

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER FORMALDEHYDE | MDL No. 1873
PRODUCT LIABILITY LITIGATION
AUTHORIZATION FOR RELEASE OF
PSYCHOLOGICAL/PSYCHIATRIC
RECORDS PURSUANT TO 45 C.F.R.

§ 164.508 (HIPAA) (TO BE SIGNED BY
PLAINTIFFS MAKING A CLAIM FOR
EMOTIONAL DISTRESS)

Name: Bradford C. Brooks
Date of Birth: a

Last Four Numbers of SSN: _

I hereby authorize to release
all existing records regarding the above-named person’s psychological or psychiatric care,
treatment, condition, and/or expenses to the law firm of Duplass, Zwain, Bourgeois, Morten,
Pfister & Weinstock, 3838 N. Causeway Boulevard, Suite 2900, Metairie, LA 70002, along
with other defense counsel in the above-captioned matter, the law firm of
and/or any of their designated agents. These
records shall be used or disclosed solely in connection with the currently pending FEMA
Formaldehyde product liability litigation involving the person named above. This authorization
shall cease to be effective as of the date on which the above-named person’s FEMA
Formaldehyde product liability litigation concludes. ,

This authorization also may include x-ray reports, CT scan reports, MRI scans, EEGs,
EKGs, sonograms, arteriograms, discharge summaries, photographs, surgery consent forms,
admission and discharge records, operation records, doctor and nurses notes (excluding
psychotherapy notes maintained separately from the individual's medical record that document or
analyze the contents of conversation during a private counseling session or a group, joint, or
family counseling session by referring to something other than medication. prescription and
monitoring, counseling session start and stop times, the modalities and frequencies of treatment
furnished, results of clinical tests, and any summary of the following items: diagnosis, functional
status, the treatment plan, symptoms, prognosis and progress), prescriptions, medical bills;
invoices, histories, diagnoses, psychiatric treatment and counseling records, psycholo gical
treatment and counseling records, narratives, and any correspondence/memoranda and billing
information. It also includes, to the extent such records currently exist and are in your
possession, insurance records, including Medicare/Medicaid and other public assistance claims,
applications, statements, eligibility material, claims or claim disputes, resolutions and payments,
medical records provided as evidence of services provided, and any other documents or things
pertaining to services furnished under Title XVII of the Social Security Act or other forms of
public assistance (federal, state, local, etc.). This listing is not meant to be exclusive.
Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 22 of 26

This will further authorize you to provide updated medical records, x-rays, reports or
copies thereof to the above attorney until the conclusion of the litigation. I understand that I
have the right to revoke in writing my consent to this disclosure at any time, except to the extent
that the above-named facility or provider already has taken action in reliance upon this
authorization, or if this authorization was obtained as a condition of obtaining insurance
coverage. I further understand that the above-named facility or provider cannot condition the —
provision of treatment, payment, enrollment in a health plan or eligibility for benefits on my
provision of this authorization. I further understand that information disclosed pursuant to this
authorization may be subject to redisclosure by the recipient to its clients, agents, employees,
consultants, experts, the court, and others deemed necessary by the recipient to assist in this
litigation and may no longer be protected by HIPAA.

Any copy of this document shall have the same authority as the original, and may be
substituted in its place.

Dated this day of , 2009.

[PLAINTIFF OR REPRESENTATIVE]

If a representative, please describe your relationship to the plaintiff and your authority to act on
his/her behaif:

Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 23 of 26

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER FORMALDEHYDE | MDL No. 1873
PRODUCT LIABILITY LITIGATION
AUTHORIZATION FOR RELEASE OF
RECORDS (To be signed by plaintiffs

making a claim for lost wages or earning

capacity.)

Name: Bradford C. Brooks

Date of Birth: a

Last Four Numbers of SSN: 7

I hereby authorize to release
all existing records and information in its possession regarding the above-named person’s
employment, income and education to the law firm of Duplass, Zwain, Bourgeois, Morton,
Pfister & Weinstock, 3838 N. Causeway Boulevard, Suite 2900, Metairie, LA 70002, along
with other defense counsel in the above-captioned matter, the law firm of

and/or any of their designated agents. These
records shail be used or disclosed solely in connection with the currently pending FEMA Trailer
Formaldehyde product liability litigation involving the person named above. This authorization
shall cease to be effective as of the date on which the above-named person’s FEMA Trailer
Formaldehyde product liability litigation concludes.

J understand that this authorization includes the above-named person’s complete
employment personnel file (including attendance reports, performance reports, W-4 forms, W-2
forms, medical reports, workers’ compensation claims), and also includes all other records
relating to employment, past and present, all records related to claims for disability, and all
educational records (including those relating to courses taken, degrees obtained, and attendance
records). This listing is not meant to be exclusive.

Any copy of this document shali have the same authority as the original, and may be
substituted in its place.

Dated this day of , 2009,

[PLAINTIFF OR REPRESENTATIVE]

If'a representative, please describe your relationship to the plaintiff and your authority to act on
his/her behalf:

Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 24 of 26
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: FEMA TRAILER FORMALDEHYDE | MDL No. 1873

PRODUCT LIABILITY LITIGATION
AUTHORIZATION FOR RELEASE OF
RECORDS (To be signed by plaintiffs not
making a claim for lost wages or lost
earning capacity.)

Name: Bradford C. Brooks

Date of Birth

Last Four Numbers of SSN: a

I hereby authorize to release all
existing records and information in its possession regarding the above-named person’s
employment and education (with the exception of W-4 and W-2 forms) to the law firm of
Duplass, Zwain, Bourgeois, Morton, Pfister & Weinstock, 3838 N. Causeway Boulevard,
Suite 2900, Metairie, LA 70002, along with other defense counsel in the above-captioned
matter, the law firm of
and/or any of their designated agents. These records shall be used or disclosed solely in
connection with the currently pending FEMA Formaldehyde product liability litigation involving
the person named above. This authorization shall cease to be effective as of the date on which
the above-named person’s FEMA Formaldehyde product liability litigation concludes. I
understand that this authorization includes the above-named person’s complete employment
personnel file with the exception of W-4 and W-2 forms (including attendance reports,
performance reports, medical reports, workers' compensation claims), and also includes all other
records relating to employment, past and present, all records related to claims for disability, and
all educational records (including those relating to courses taken, degrees obtained, and
attendance records). This listing is not meant to be exclusive.

Any copy of this document shall have the same authority as the original, and may be
substituted in its place.

Dated this day of , 2009.

[PLAINTIFF OR REPRESENTATIVE]
If a representative, please describe your relationship to the plaintiff and your authority to act on
his/her behalf:

Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 25 of 26
NAME OF FACILITY:

Authorization for Use and Disclosure of Protected Health Information (PHI)
pursuant to HIPAA Privacy/Regulations, 45 CFR§§ 160&164 and Louisiana Revised Statutes,
Title 40: 1299.41, et seg., 40:1299.96 et seg., 13:3715 et seg. and C.C.P. art. 1467

Patient Legal Name Birth Date Social Security No.

Bradford C. Brooks it XXX-XX-
Address: Telephone No.:
City: State: Zip Code:

I hereby authorize the Medical Records Custodian of

To disclose medical record information and/or protect health information and to provide a complete and
certified copy of my entire record of the patient listed above to:

Name. .

Title. .

Address.

Purpose:_To Protect My Legal Rights

For Treatment Date(s): All Available

Type of Access L) Abstract/pertinent L) Lab C) Progress Notes
O Emergency Room L] Imaging/Radiology L} Physician’s Orders
Requested: QO) Hep C) Cardiac Studies O} Entire Record
CL} Consult Report L} Face Sheet L} Other
QO Operative Report LJ Nursing Notes
QV Copies of the LJ Rehab Services UW Medication Record
records &
Inspection of the
record

I acknowledge, and hereby consent to such, that the released information may contain
alcohol, drug abuse, psychiatric, HIV testing, HIV results, or AIDS information.
ae Ke Tnitials***

This authorization shali expire upon the following expiration date or event (if 1 fail to specify an
expiration date or event, this authorization will expire in four [4] years from the date on which it
was signed):

You have my specific consent to meet and discuss in person or by telephone with my attorneys

only, any and all protected health information.

* [understand that I have a right to revoke this authorization at any time. ] understand that if ] revoke this authorization, I must
do so in writing and present my written revocation to the above-named health care provider. I understand that the revocation
will not apply to information that has already been released in response to this authorization. I understand that the revocation
will not apply to my insurance company when the law provides my insurer with the right to contest a claim under my policy.

* [understand that the information used or disclosed pursuant to this authorization may be subject to re-disclosure by the
recipient and no longer protected.

*  Fees/charges will comply with all laws and regulations applicable to release information.

* [understand authorizing the use or disclosure of the information identified above is voluntary and I may refuse to sign. My
refusal to sign will not affect payment for or coverage of services, or ability to obtain treatment.

* [understand that I may inspect or copy the information used or disclosed upon request.

+ You are specifically not authorized to speak or confer with anyone except me, or my attorneys,

unless you have the written consent of my attorneys or me.
Pursuant to HIPAA Privacy/Regulations, 45 CFR §§ 160 & 164.
I have read the above and authorize the disclosure of the protected health information as stated.

*** Signature *** of Patient/Legal Representative Date
If signed by legal representative, relationship to patient:

Case 2:07-md-01873-KDE-MBN Document 23894-4 Filed 12/14/11 Page 26 of 26

PRIVACY ACT RELEASE LANGUAGE

I, Bradford C. Brooks [insert name] understand that information

maintained by the Federal Emergency Management Agency (FEMA) and contained in
files related to disaster assistance provided to me by FEMA is subject to the Privacy
Act of 1974, 5 U.S.C. 552a. I hereby authorize FEMA to release to my attorney

, Plaintiffs’ Liaison Counsel Justin Woods and

Gerald E. Meunier, and Defense Liaison Counsel Andrew D. Weinstock, information
contained in FEMA’s Privacy Act files related to the travel trailer or mobile home unit
provided to me by FEMA.

Dated:

Name: Bradford C. Brooks (print legibly or type out name)

Signature:

